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    8                       UNITED STATES DISTRICT COURT
    9                     CENTRAL DISTRICT OF CALIFORNIA
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   11 WILLIAM S. CALLAWAY, on behalf              Case No. 8:14-CV-02011-JVS-DFM
      of himself and all others similarly
   12 situated,
                                                  JUDGMENT AND DISMISSAL
   13                     Plaintiff,              WITH PREJUDICE
             v.
   14
        MERCEDES-BENZ USA, LLC,
   15
                          Defendant.
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                        [PROPOSED] JUDGMENT AND DISMISSAL WITH PREJUDICE

         
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    1        For the reasons set forth in the Order Granting Motion for Final Settlement
    2 Approval (Dkt. 233-1) and Order Granting Final Approval of Class Action Settlement,

    3 Attorneys’ Fees and Costs and Incentive Award and for Attorneys’ Fees and Costs

    4 (Dkt. No. 234) all claims against defendant Mercedes-Benz USA, LLC are

    5 DISMISSED WITH PREJUDICE.

    6        The Clerk is directed to enter this Judgment pursuant to Federal Rule of Civil
    7 Procedure 58.

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    9        IT IS SO ORDERED.
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   11 Dated: March 09, 2018

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   13                                                Hon. James V. Selna
                                                     United States District Judge
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                        [PROPOSED] JUDGMENT AND DISMISSAL WITH PREJUDICE

         
